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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: February 01, 2024.

                                                         ________________________________________
                                                                    CRAIG A. GARGOTTA
                                                         CHIEF UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________
                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

   IN RE                                           §
                                                   §          CASE NO. 19-50900-CAG
   LEGENDARY FIELD EXHIBITIONS,                    §               CHAPTER 7
   LLC,                                            §
                                                   §
   DEBTOR.                                         §


   DUNDON CAPITAL PARTNERS LLC,                    §
                                                   §
           Plaintiff,                              §
                                                   §         Adversary No. 22-05077-cag
   v.                                              §
                                                   §           Judge: Craig A. Gargotta
   CHARLES EBERSOL,                                §
                                                   §
           Defendant.                              §


                         AGREED PRE-TRIAL SCHEDULING ORDER

         Counsel for the Parties have conferred and recommended the Court enter a scheduling

  order for the control and management of this Adversary Proceeding. In addition, the Parties have

  conferred and agree to consolidate the pretrial discovery scheduling with “Related Adversary”


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  Proceeding, Randolph N. Osherow, Chapter 7 Trustee, and the Bankruptcy Estates of Legendary

  Filed Exhibitions, LLC, AAF Players, LLC, AAF Properties, LLC, Ebersol Sports Media Group,

  Inc., LFE2, LLC, and We Are Realtime, LLC v. Thomas Dundon, John Zutter, and Dundon Capital

  Partners, LLC, Case No. 19-05078-cag (the “Trustee Proceeding”), also pending before this Court.

  A corresponding Scheduling Order has been entered in that proceeding. The Parties are directed

  to coordinate the conduct of discovery to minimize the burden and inconvenience to fact witnesses

  and other non-parties, including with respect to scheduling of depositions.

         Should any of the deadlines fall on a weekend or federal court holiday, such as a Saturday

  or July 4 by way of example, the deadline shall roll to the following Monday or regular business

  day the Court is open after such holiday.

         With due regard to the parties’ recommendations and other pertinent matters, the Court

  enters the following scheduling deadlines and order.

  IT IS ORDERED THAT THE FOLLOWING DEADLINES SHALL APPLY:

   February 5, 2024       Pleading Amendments. No further amended pleadings may be filed
                          except upon motion and the prior order of the Court.
   February 5, 2024       Rule 26 Disclosures. All Parties asserting or resisting claims for relief
                          will serve on all other parties, but not file, the disclosures required by
                          Federal Rule of Civil Procedure 26(a)(1).
   February 5, 2024       Written Discovery Requests. Plaintiffs and Defendants may propound
                          initial written interrogatories, requests for production, and requests for
                          admission, if any, starting on this date. Parties may thereafter propound
                          additional discovery requests, if any, in accordance with the Federal
                          Rules of Bankruptcy Procedure except that Interrogatories will be
                          limited to a total of 50 per propounding Party.
                          Depositions. Each Party may notice and take up 35 depositions without
                          leave of court. Depositions taken in this Adversary Proceeding or in the
                          Related Adversary Proceeding will be considered taken in and may be
                          used in both proceedings. The parties will coordinate to ensure that a
                          witness is deposed only once.
   July 12, 2024          Mediation. The Parties will mediate on or before this date.


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    May 20, 2024      Plaintiffs’ Expert Witnesses. Plaintiff will designate* retained
                      testifying expert witnesses, if any.
   May 24, 2024       Expert Depositions. Plaintiff will tender their designated experts, if
                      any, on or before this date, but the Defendants may take those
                      depositions at any time before discovery closes.
   June 24, 2024      Defendants’ Expert Witnesses. Defendants to designate* retained
                      expert witnesses.
   June 27, 2024      Expert Depositions. Defendants will tender their designated experts, if
                      any, on or before this date, but Plaintiffs may take those depositions at
                      any time before discovery closes.
   July 15, 2024      Discovery Completed. The parties will complete discovery on or before
                      this date. Counsel may, by agreement, amend, extend, or otherwise alter
                      the dates and deadlines for discovery, or for certain discovery and may
                      by agreement extend discovery beyond the deadlines set in this Order,
                      but there will be no intervention by the Court except in extraordinary
                      circumstances.
                      Discovery Disputes. Counsel is encouraged to resolve discovery
                      disputes by agreement. Motions to compel, motions for protective orders
                      and similar motions, while not prohibited, may result in sanctions being
                      imposed on the losing party or both parties as provided in Fed. R. Bankr.
                      P. 7037 & 9011 or 28 U.S.C. section 1927, if a hearing is required
                      thereon.

                      All discovery shall be commenced at a time which allows for the full
                      response time provided by applicable rules on or before the discovery
                      deadline. E.g., if the discovery deadline is July 15, interrogatories must
                      be actually delivered, on or before June 15, in order to allow thirty days
                      for answers. If the interrogatories are mailed, then they must be mailed
                      on or before June 12, pursuant to Fed. R. Bankr. P. 9006(f), to allow
                      three additional days for service by mail.
   May 17, 2024       Dispositive Motions. All dispositive motions will be filed and served on
                      all other parties on or before this date and shall be limited to 30 pages
                      unless otherwise authorized by the court. See L. Rule 7007(a) for the
                      definition of dispositive motions and page limits. Responses shall be
                      filed and served on all other parties not later than 21 days of the service
                      of the motion and shall be limited to 30 pages. See L. Rule 7007(b) (2).
                      Any replies shall be filed and served on all other parties not later than 7
                      days of the service of the response and shall be limited to 10 pages, but
                      the Court need not wait for the reply before ruling on the motion. See L.
                      Rule 7007(c).
                      Other Motions. Motions other than Rule(s) 7012 or 7056 are governed
                      by L. Rule 7007, 9013, and 9014 where applicable.
   10 days before     Joint Pre-trial Order. A joint pre-trial order and proposed findings of
   Docket Call        fact and conclusions of law are due. See L. Rule 7016(c) and (d).

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   August 1, 2024          Docket Call for Trial. Docket Call. 9:00 a.m. Parties to appear
                           telephonically. Call-in number: 1-650-479-3207 Access code: 160 591
                           1937. Parties will be required to discuss at docket call any objections to
                           the use of deposition testimony and stipulations regarding the use of
                           experts for trial. At docket call, the Court will set a date to commence
                           trial.

                           Failure to attend docket call may result in dismissal or rendition of
                           final judgment. Any party may, however, authorize any member of
                           the Bar of this Court, including opposing counsel, to make an
                           appearance on your behalf at docket call, if there are no contested
                           motions for continuance, motions for default judgment or motions
                           under Fed. R. Civ. P. 12 and Fed. R. Bankr. P. 7012.
                           Exhibits. Exhibits and a witness list are to be exchanged seven business
                           days in advance of trial. See L. Rule 7016(f). In addition, counsel is
                           encouraged to present and provide electronic versions of exhibits where
                           practicable. Use and presentation of electronic exhibits should be
                           coordinated through the courtroom deputy.
  *The parties’ expert designations shall identify the expert by name and address and shall also state
  the opinions the expert intends to offer at trial and in general the factual and legal bases for those
  opinions. Documents made available to the expert shall be made available to the opposing side a
  reasonable time before deposition.

  Sides as “Parties” for Discovery. For the purposes of the discovery limitations in this scheduling
  order, the Trustee, as Chapter 7 Trustee of the consolidated bankruptcy estates of Legendary Field
  Exhibitions, LLC, AAF Players, LLC, AAF Properties, LLC, Ebersol Sports Media Group, Inc.,
  LFE2, LLC and We Are Realtime, LLC are considered to be single Party; Thomas Dundon,
  Dundon Capital Partners, LLC and John Zutter are considered to be a single Party and Charles
  Ebersol is considered to be a single Party.

  Redaction. Counsel is reminded that, regarding any paper that is filed, compliance with Fed. R.
  Civ. P. 5.2 is mandatory. As such, counsel should ensure that appropriate redactions are made.

  Production of Electronic Images. Documents may be produced and served as electronic images.
  Neither paper copies nor originals are required absent a specific request by a party.

  Electronically Stored Information. This Scheduling Order does not specifically address the
  discovery of electronically stored information (ESI). To the extent the parties believe that ESI is
  subject to discovery, the parties are directed to reach an agreement on production of ESI. The
  parties are encouraged to consider the template developed by the Seventh Circuit Electronic
  Discovery Pilot Program. See (http://www.discoverypilot.com). Any party may bring any dispute
  regarding the discovery of ESI.

  Modification and Amendment. The Court may, upon its own motion or motion for cause shown,
  extend, reduce, or otherwise modify the deadlines set out in the Scheduling Order. Mere agreement

  AGREED PRE-TRIAL SCHEDULING ORDER                                                     Page |4
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  of the parties to such extensions or modifications is not of itself sufficient cause.

  Foreign Counsel. Counsel residing outside the State of Texas may designate local counsel in
  writing, giving the street address, telephone number and mailing address. The designation shall be
  filed with the Clerk of the Court in this proceeding, and a copy shall be sent to all other counsel of
  record in this proceeding. This provision may be waived by the Court upon motion of counsel and
  service upon other parties

  Alternative Dispute Resolution. The parties will mediate in prior to the date the Pre−Trial Order
  is required to be filed, to fully explore the possibility of settlement. The Pre-Trial Order will
  contain a certificate that such mediation was held.

  Counsel to Confer. Prior to the date the Pre-Trial Order is required to be filed, Counsel will
  confer in good faith to consider stipulation to matters not in dispute and to simplify the issues for
  trial. The Pre-Trial Order shall contain a certificate to the effect that the conference of counsel has
  been held. Counsel must also confer to determine whether the original time estimate for trial is
  correct or should be revised. If the parties wish to have a pre−trial conference with the Court, a
  pre−trial conference should be requested as early as possible, but at least 60 days prior to the trial.

  Matters Considered at Docket Call. Docket call is set on the docket call date provided in the
  scheduling order. The only matters to be considered by the Court at docket call are as follows:
         a. Date, time and place of trial following docket call.
         b. Properly and timely−filed motions for continuance or for default judgment.
         c. Motions not previously ruled on under Fed. R. Civ. P. 12 and Fed. R. Bankr. P. 7012.
         d. Settlement announcements. Failure to attend docket call may result in dismissal or
         rendition of final judgment. You may, however, authorize any member of the Bar of this
         Court, including opposing counsel, to make an appearance on your behalf at docket call, if
         there are no contested motions for continuance, motions for default judgment or motions
         under Fed. R. Civ. P. 12 and Fed. R. Bankr. P. 7012.

                                                   ###

  Submitted by:

  Brent D. Hockaday
  Bell Nunnally & Martin LLP
  2323 Ross Avenue Suite 1900
  Dallas, Texas 75201




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